       Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 1 of 17



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


In re Motion of
      CHEVRON CORPORATION,

                    Petitioner,

To Compel the Production of Documents
from
    THE WEINBERG GROUP,                        Civ. Action No: 1:11-mc-00409-JMF

                    Respondent,

In Connection with a Civil Action Pending in
the United States District Court for the
Southern District of New York.




       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
    RESPONDENT WEINBERG GROUP AND DEFENDANTS HUGO GERARDO
         CAMACHO NARANJO AND JAVIER PIAGUAJE PAYAGUAJE’S
          EMERGENCY MOTION FOR STAY OF ENFORCEMENT OF
 THIS COURT’S SEPTEMBER 8, 2011 MEMORANDUM AND ORDER (DKT. 24) AND
       SEPTEMBER 13, 2011 ORDER (DKT. 30) PENDING APPEAL TO THE
                UNITED STATES COURT OF APPEALS FOR
                 THE DISTRICT OF COLUMBIA CIRCUIT
           AND FOR EXPEDITED BRIEFING AND CONSIDERATION
          Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 2 of 17



                                                    TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1

ARGUMENT.................................................................................................................................. 1

          I.         THE ECUADORIAN PLAINTIFFS’ AND WEINBERG GROUP’S
                     APPEAL RAISES SERIOUS LEGAL QUESTIONS WARRANTING A
                     STAY ...................................................................................................................... 2

          II.        THE ECUADORIAN PLAINTIFFS AND WEINBERG GROUP WILL
                     SUFFER IRREPARABLE INJURY ABSENT A STAY ...................................... 5

                     A.         This Court’s Orders Contemplate the Immediate Disclosure of
                                Documents Claimed Privileged to an Active Litigation Adversary ........... 5

                     B.         The Court’s Denial of the Ecuadorian Plaintiffs’ and Weinberg
                                Group’s Application for a Protective Order Exponentially
                                Increases the Prejudice Visited on the Parties ............................................ 6

          III.       CHEVRON WILL NOT BE PREJUDICED BY A STAY PENDING
                     APPELLATE REVIEW.......................................................................................... 7

                     A.         The 30(b)(6) Deposition Noticed for September 15, 2011 ......................... 8

                     B.         The End of Fact Discovery on September 15, 2011 ................................. 10

                     C.         The Ecuadorian Plaintiffs and Weinberg Group Would Seek, and
                                Consent to, an Accelerated Briefing Schedule ......................................... 11

CONCLUSION............................................................................................................................. 12




                                                                       i
           Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 3 of 17




                                                 TABLE OF AUTHORITIES

                                                                                                                                    Page(s)
CASES

Corbell v. Norton,
   334 F.3d 1128 (D.C. Cir. 2003) .................................................................................................3

Cuomo v. U.S. Nuclear Regulatory Comm’n,
   772 F.2d 972 (D.C. Cir. 1985) ...................................................................................................2

Haines v. Liggett Group, Inc.,
   975 F.2d 81 (3d Cir. 1992).........................................................................................................6

Hilton v. Braunskill,
    481 U.S. 770 (1987)...................................................................................................................2

In re Ford Motor Co.,
    110 F.3d 954 (3d Cir. 1997)...................................................................................................3, 5

In re Sealed Case,
    754 F.2d. 395 (D.C. Cir. 1985) ..................................................................................................4

Peck v. Upshur County Bd. of Educ.,
   941 F. Supp. 1478 (N.D. W. Va. 1996) .....................................................................................2

Population Inst. V. McPherson,
   797 F.2d 1062 (D.C. Cir. 1986) .................................................................................................2

United States v. Diageo, Inc.,
   No. Civ.02-MC- 1, 2003 WL 21254778 (D. Minn. April 29, 2003) .........................................5

United States v. Jones,
   No. 2:99-MC-71-, 1999 WL 1057210 (D.S.C. Oct. 5, 1999)....................................................5

United States v. Philip Morris, Inc.,
   354 U.S. App. D.C. 171, 314 F.3d 612 (D.C. Cir. 2003) ......................................................3, 5



RULES

Fed. R. Civ. P. 45.............................................................................................................................9




                                                                      ii
           Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 4 of 17



STATUTES

28 U.S.C. § 1782..............................................................................................................................8




                                                                     iii
       Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 5 of 17



                                PRELIMINARY STATEMENT

       Late yesterday afternoon, this Court denied in full Defendants Hugo Gerardo Camacho

Naranjo’s and Javier Piaguaje Payguaje’s (the “Ecuadorian Plaintiffs”) and the Weinberg

Group’s motion for reconsideration of this Court’s September 8, 2011 Order and granted, by

virtue of application of the crime-fraud exception, Chevron Corporation’s motion to compel over

1,000 privileged documents by 5:49 p.m. today. Respectfully, the Ecuadorian Plaintiffs and

Weinberg Group do not seek to “run out the clock” or tactically delay to avoid production. The

movants seek to pursue all available avenues of appeal to safeguard the documents they believe

to be privileged. In this motion for stay, the movants concede and represent that they will

produce documents even after the close of fact discovery in the event their appeals are

unsuccessful. However, if the cat is let out of the bag prior to appellate review, there can be no

doubt that the movants will be forever harmed by the disclosure of their protected materials.

       In light of the immediacy and magnitude of the injury to the Ecuadorian Plaintiffs and the

Weinberg Group (including its employees and other clients whose confidences are disclosed),

the movants further request expedited briefing and consideration of the motion. The parties seek

a stay of the Orders in their entirety, based on the above understanding of the Orders’ scope,

about which the Ecuadorian Plaintiffs and Weinberg Group plan to pursue all available avenues

of appeal. In the event this Court cannot promptly rule or has not ruled on the Weinberg Group’s

and Ecuadorian Plaintiffs’ motion, they intend to present an emergency stay request to the Court

of Appeals later today for a temporary bridge stay to allow time to brief the issues before the

District of Columbia Circuit.

                                         ARGUMENT

       In light of the Ecuadorian Plaintiffs’ and Weinberg Group’s decision to appeal the

Court’s Orders, the weighty issues that must be resolved on appeal, and the irreparable injury

                                                1
       Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 6 of 17



that the Ecuadorian Plaintiffs and Weinberg Group would suffer if the Orders remain in place

pending resolution of their appeal, the Ecuadorian Plaintiffs and Weinberg Group respectfully

seek a stay. Courts consider four factors in assessing the propriety of granting a motion for stay

pending appeal:

               (1) the likelihood that the party seeking the stay will prevail on the
               merits of the appeal; (2) the likelihood that the moving party will
               be irreparably harmed absent a stay; (3) the prospect that others
               will be harmed if the court grants the stay; and (4) the public
               interest in granting the stay.

Cuomo v. U.S. Nuclear Regulatory Comm’n, 772 F.2d 972, 974 (D.C. Cir. 1985). A stay may be

granted with either a high probability of success and some injury, or vice versa. See id.

       These four factors are not a “set of rigid rules,” but rather necessitate “individualized

judgments in each case.” Hilton v. Braunskill, 481 U.S. 770, 777 (1987). Having already ruled

against the movant on the underlying legal and factual questions, a court need not be convinced

of an “absolute certainty of success” on appeal, i.e., “[i]t will ordinarily be enough that the

[movant] has raised serious legal questions going to the merits so serious, substantial, difficult

as to make them a fair ground of litigation . . . .” Population Inst. V. McPherson, 797 F.2d 1062,

1078 (D.C. Cir. 1986) (emphasis added) (citation and internal quotations omitted); see also Peck

v. Upshur County Bd. of Educ., 941 F. Supp. 1478, 1481 (N.D. W. Va. 1996) (“To find that

plaintiffs have a strong likelihood of success on appeal, the Court need not harbor serious doubts

concerning the correctness of its decision.”).

I.     THE ECUADORIAN PLAINTIFFS’ AND WEINBERG GROUP’S APPEAL
       RAISES SERIOUS LEGAL QUESTIONS WARRANTING A STAY

       The Ecuadorian Plaintiffs and Weinberg Group respectfully assert that there is a

substantial likelihood that they will ultimately prevail on appeal. Even if the Court reaches a

different assessment, it cannot be disputed that the appeal raises serious legal questions


                                                 2
       Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 7 of 17



concerning the appropriate application of the crime-fraud exception in the District of Columbia

Circuit. This Court should permit the District of Columbia Circuit to consider the privilege

claims at issue here before “[t]he cat is [] out of the bag.” See In re Ford Motor Co., 110 F.3d

954, 962-64 (3d Cir. 1997) (“Appeal after final judgment cannot remedy the breach in

confidentiality occasioned by erroneous disclosure of protected materials. . . . The cat is already

out of the bag. . . . There is no way to unscramble the egg scrambled by the disclosure . . . .”); see

also United States v. Philip Morris, Inc., 354 U.S. App. D.C. 171, 314 F.3d 612, 621-22 (D.C.

Cir. 2003).

       First, the Court applied the crime-fraud exception finding it was bound by the summary

of evidence contained in Judge Kaplan’s Preliminary Injunction opinion: an opinion which did

not make any findings as to the crime-fraud exception and which is presently on expedited

appeal to the United States Court of Appeals for the Second Circuit with arguments scheduled

for this Friday, September 16, 2011.1 The specific “finding” to which this Court felt compelled

to give comity did no more than, in the context of analyzing the standards of a preliminary

injunction, state that Chevron “present[ed] a fair ground for litigation as to whether the

Ecuadorian judgment [was] a result of fraud practiced on the Ecuadorian tribunal.” (Dkt. 30 at 3

(quoting Chevron, 768 F. Supp. 2d at 637).) If that is the standard sufficient to invoke the crime-

fraud exception, then virtually every case in which a fraud cause of action is not dismissed at the

pleading stage would satisfy it. Second, the Court found that the September 16, 2010 expert



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          Notably, when Magistrate Judge Francis – Judge Kaplan’s assigned Magistrate Judge –
held that there was prima facie evidence of a fraud based on the September 16, 2010 expert
reports, Judge Kaplan stayed this decision – and the production of thousands of documents that
were the subject of the stay Magistrate Judge Francis order. (Dkt. 27-02.) Apparently, the court
that imposed the September 15, 2011 discovery close date and that wrote the Preliminary
Injunction opinion now cited by this Court apparently regards as serious the Ecuadorian
Plaintiffs’ substantial objections to Magistrate Judge Francis’ order.

                                                  3
       Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 8 of 17



reports were “part of a fraud upon the Ecuadorian court,” (Dkt. 24, at 8), notwithstanding the fact

that the evidence of “fraud” was previously presented to the Ecuadorian court and no finding of

fraud was made and that, regardless of the law of the Southern District of New York, controlling

District of Columbia Circuit precedent recognizes that “fraud on the court is a narrow concept,

limited to the most egregious conduct involving a corruption of the judicial process itself.”

Corbell v. Norton, 334 F.3d 1128, 1148 (D.C. Cir. 2003). Third, the Court did not apply the

second required prong of the crime-fraud exception, even though the District of Columbia

Circuit requires such application. See In re Sealed Case, 754 F.2d. 395, 399 (D.C. Cir. 1985)

(identifying second prong “made in furtherance of a crime, fraud, or other misconduct”). When

the movants identified the fact that not even Chevron can claim that every document “furthered”

the alleged “fraud” – including identified categories of documents such as invoice and internal

administrative process communications, research of the scientific issues involved in the

Ecuadorian litigation, and documents related to efforts to locate prospective (but not retained)

experts, (see Dkt. 27-1 at 7) – rather than order only specific categories of documents produced,

this Court found each and every of the more than 1,000 documents to have waived all claims of

privilege, (Dkt. 30). The Court did so without ever having reviewed even a single document, and

even then shifted the burden onto the Ecuadorian Plaintiffs and Weinberg Group to have

requested an in camera review in advance of any finding of prima facie evidence of a fraud and

referred to the failure to request in camera review earlier as “gamesmanship.” (Dkt. 30, at 4.)

For the reasons set forth below, see supra Part III.A, Chevron is the party engaging in

gamesmanship – making representations to the Southern District of New York contrary to its

positions here in the District for the District of Columbia in an apparent attempt to mislead the

Court into finding urgency where there is none. Respectfully, for these and other reasons, the



                                                4
        Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 9 of 17



Ecuadorian Plaintiffs and Weinberg Group disagree with the findings of this Court, believe that

they have set forth good-faith and substantial legal issues for appellate review, and anticipate that

they are likely to succeed on the merits before the District of Columbia Circuit.

II.    THE ECUADORIAN PLAINTIFFS AND WEINBERG GROUP WILL SUFFER
       IRREPARABLE INJURY ABSENT A STAY

       A.      This Court’s Orders Contemplate the Immediate Disclosure of Documents
               Claimed Privileged to an Active Litigation Adversary

       It is beyond question that a party is irreparably harmed by being compelled to produce to

his adversary documents or other materials protected by the attorney-client and/or work product

privileges. See United States v. Philip Morris, Inc., 354 U.S. App. D.C. 171, 314 F.3d 612, 621-

22 (D.C. Cir. 2003); see also In re Ford Motor Co., 110 F.3d 954, 962-64 (3d Cir. 1997)

(“Appeal after final judgment cannot remedy the breach in confidentiality occasioned by

erroneous disclosure of protected materials. . . . The cat is already out of the bag. . . . There is no

way to unscramble the egg scrambled by the disclosure . . . .”).

       Ultimately, given the substantial privilege issues at stake, even if the Ecuadorian

Plaintiffs and Weinberg Group made no showing at all of success on the merits, well-reasoned

precedent suggests that this Court should stay enforcement of its decision until the District of

Columbia Circuit has had the opportunity to consider the parties’ claims at issue. United States

v. Diageo, Inc., No. Civ.02-MC- 1, 2003 WL 21254778, at *1 (D. Minn. April 29, 2003)

(granting stay pending appeal of an order to compel, even though defendant had “not made a

strong showing on the merits,” because of “the strong value the law places on the attorney-client

privilege,” explaining that if defendant “were required to produce the document now and then

was successful on appeal [defendant] would be irreparably harmed because [defendant] would

not be able to recover the privileged nature of the document”); United States v. Jones, No. 2:99-

MC-71-, 1999 WL 1057210, at *2 (D.S.C. Oct. 5, 1999) (granting stay pending appeal of its

                                                  5
         Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 10 of 17



order requiring production of documents because “if the requested stay is denied, any privileged

information which Jones may inadvertently divulge will be forever” and emphasizing that “[t]he

important interests that the attorney/client privilege protects will be destroyed and such harm to

Carraway will be irreparable”). Because this Court has ordered disclosed the redacted materials

mixed into otherwise responsive documents, including other client work, personal

communications, and personal identifiers including bank accounts and Social Security numbers,

the Weinberg Group will suffer its own unique and irreparable harm, separate and apart from the

disclosure of privileged documents.

         B.     The Court’s Denial of the Ecuadorian Plaintiffs’ and Weinberg Group’s
                Application for a Protective Order Exponentially Increases the Prejudice
                Visited on the Parties

         Respectfully, this Court’s denial of a protective order limiting Chevron’s use of the

documents to the underlying litigation (and to filing the documents under seal) exponentially

increases the injury and need for appellate review of the serious legal questions presented to this

Court.    As one United States Court of Appeals has noted, “[b]ecause of the sensitivity

surrounding the attorney-client privilege, care must be taken that, following any determination

that an exception [to the privilege] applies, the matters covered by the exception be kept under

seal or appropriate court-imposed privacy procedures until all avenues of appeal are exhausted.”

See Haines v. Liggett Group, Inc., 975 F.2d 81, 97 (3d Cir. 1992).

         Although this Court observed that “the Weinberg Group fails to point to any legal

concept or case that would prohibit” Chevron using the claimed-privileged documents in the de

novo Ecuadorian appellate proceedings or international arbitration pending in the Hague, (Dkt.

30, at 5), the absence of case law on this point is precisely why appellate review is appropriate

here. Chevron cites no cases in which claimed-privileged documents (subpoenaed only for use

in a United States proceeding) are ordered disclosed without a protective order in a circumstance

                                                6
       Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 11 of 17



where those claimed-privileged documents can be used to permanently and irreparably infect de

novo foreign proceedings abroad – while the party claiming privileges vigorously seeks every

available avenue of appellate review in the United States.

       Ultimately, at issue are claimed-privileged documents. Even if this Court reached a

different assessment, in the event the appellate court finds that the claims of privilege and work

product here were properly asserted, the absence of a protective order will have served to work

substantial prejudice on the Ecuadorian Plaintiffs. In this Court’s effort to maintain the status

quo, the Ecuadorian Plaintiffs and Weinberg Group are grateful this Court “ask[ed] the lawyers

for Chevron . . . as a courtesy to me, not to publicly disclose the documents at this time” except if

they wish to publicly disclose the documents – in which case the company “should” seek

permission from Judge Kaplan or this Court. (Dkt. 30, at 5 (emphasis added).) However, basing

such a request on principles of “courtesy” is not enough to protect the interests of the Ecuadorian

Plaintiffs and Weinberg Group from the harm that the disclosure and use of their claim-

privileged documents will have particularly where, as here, (a) this Court does not retain

jurisdiction to enforce a request of courtesy, and (b) it unlikely this Court would be able to

punish any breach or violation of its courtesy request with contempt or order the protected

materials destroyed or returned to counsel in a circumstance where, as here, the Court

specifically refused to order a protective order in the first instance.

III.   CHEVRON WILL NOT BE PREJUDICED BY A STAY PENDING APPELLATE
       REVIEW

       Despite Chevron preemptively raising the issue of a stay in their papers and this Court

addressing a possible stay on Chevron’s request, this is the first time that the Ecuadorian

Plaintiffs and Weinberg Group are requesting a stay pending appeal and the first time they are

permitted to respond to Chevron’s false cries of urgency for the documents. This Court earlier


                                                   7
       Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 12 of 17



found that “[d]iscovery will close in 48 hours and my staying my decision would deprive

Chevron of the documents and in effect render the deposition it has scheduled of the Weinberg

Group nearly meaningless.” (Dkt. 30, at 3.) The Court made these findings without a request to

stay before it and without the benefit of the Ecuadorian Plaintiffs’ and Weinberg Group’s

response to Chevron’s claims of urgency.         Respectfully, for the reasons expressed herein,

Chevron will not be prejudiced by a stay to allow for appellate review.

       A.      The 30(b)(6) Deposition Noticed for September 15, 2011

       Notwithstanding the Court’s precipitous conclusion about gamesmanship, the true party

engaged in tactical gamesmanship here is Chevron. Chevron has known of the existence of the

Weinberg Group and its role in this litigation since before initiating the Southern District of New

York proceedings – the company sought 28 U.S.C. § 1782 discovery against Weinberg Group

January 21, 2011, though it cannot be credibly disputed that Chevron obtained the “evidence” at

issue long before that date. (See generally No. 1:11-mc-00030-CKK, Dkt. 1 (Application for

Discovery from Weinberg Group).) Chevron served its document subpoena (the subject of the

instant motion to compel) on the Weinberg Group on May 20, 2011 and there can be no credible

dispute that the company was able to serve a 30(b)(6) subpoena at or near the same time.

       Yet the company waited until last Friday, September 9, 2011 to serve on the Weinberg

Group a 30(b)(6) subpoena.2 That 30(b)(6) subpoena purports to impose on the Weinberg Group

the requirement that the company prepare multiple witnesses to testify regarding 32 deposition

topics for a 30(b)(6) deposition noticed only four court days earlier. (See Gomez Declaration

(“Gomez Decl.”), Ex. 1.)




       2
         Though the subpoena is dated September 8, 2011, it was not served on the Weinberg Group until
September 9, 2011.

                                                  8
        Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 13 of 17



        It is especially ironic that Chevron can argue with a straight face to this Court that the

deposition on the Weinberg Group will and should occur on September 15, when in the

underlying litigation before Judge Kaplan, Chevron just two days ago submitted a motion for a

protective order arguing that the company should not be required produce two witnesses

subpoenaed pursuant to Federal Rule of Civil Procedure 45 on the basis that the Notices (which

were served on the same day Chevron served the Weinberg Group) were “less than the

‘reasonable notice’ required by the Federal Rules of Civil Procedure,” that “[i]ndeed, notice

periods more than twice as long have been held to be insufficient,” and that “when depositions

are noticed for ‘only hours before the discovery cut-off,’ courts have found them unduly

inconvenient.” (Gomez Decl., Ex. 2 at 4.) According to Chevron, “the [Ecuadorian Plaintiffs]

have been aware of [the witness] since the beginning of discovery, but chose to wait until the

eleventh hour to seek to depose him” and “[t]his alone is sufficient grounds for granting the

protective order.” (Id.) Yet, Chevron sees no problem with its own virtually identical tactic with

respect to the Weinberg Group. Indeed, Chevron’s conduct here is even more oppressive that

that about which it complains here, as Chevron seeks to depose the non-party Weinberg Group

on thirty-two topics, as opposed to the far less number of topics which the Chevron witnesses’

depositions are intended to cover. Chevron cannot have it both ways.

        Accordingly, unless Chevron agrees to withdraw the 30(b)(6) subpoena directed to the

Weinberg Group, the Ecuadorian Plaintiffs will file today a new, miscellaneous civil action

seeking to quash the 30(b)(6) subpoena propounded on the Weinberg Group.3 There is no cause




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          It cannot be said that the Ecuadorian Plaintiffs or Weinberg Group have delayed or are delaying in filing a
motion to quash the 30(b)(6) subpoena directed to the Weinberg Group. In fact, today is only the third Court
business day since the subpoena was served on the Weinberg Group last Friday.

                                                         9
      Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 14 of 17



to order the disclosure of the privileged documents in anticipation of a 30(b)(6) deposition

which, based on Chevron’s own representations, is presumptively improper.

       B.      The End of Fact Discovery on September 15, 2011

       Neither the Ecuadorian Plaintiffs nor the Weinberg Group are engaged in an effort to

“run[] out the clock” – and the Court’s presumption that they are seeking to delay production

until just after September 15, 2011 in an effort to then refuse to comply with this Court’s Orders

on the basis of the end of fact discovery in the underlying proceeding is simply incorrect. (Dkt.

30, at 2.) If the Court has any concern about that (and it has no reason to), the Ecuadorian

Plaintiffs and Weinberg Group hereby represent that if their requests here and on appeal are

unsuccessful and they are ultimately ordered to make production of documents after the

September 15, 2011 deadline, neither the Ecuadorian Plaintiffs nor the Weinberg Group would

object to the production of documents on the basis of the September 15, 2011 discovery cutoff

date as to Weinberg Group documents and would produce the documents without Chevron

having to seek an extension of the discovery cutoff date (which the company, parenthetically, has

not done even though it claims its need for documents in this proceeding is so great).

       The movants note that they have heretofore briefed the issues before this Court at an

extraordinary pace and have, in fact, taken steps to expedite consideration of Chevron’s motion

to compel. Both the Ecuadorian Plaintiffs and Weinberg Group consented to the referral of

Chevron’s motion to compel – a result “strongly encouraged” by Judge Kollar-Kotelly because

of the likelihood that such consent “may very well result in a more prompt resolution of the

pending dispute.” (Dkt. 10, at 3; Dkt. 13.) Within one day of this Court’s order granting

Chevron’s motion to compel, (Dkt. 24), the Ecuadorian Plaintiffs and Weinberg Group filed in

good faith a 12-page motion for reconsideration, (Dkt. 27-1). The instant stay motion is made

within hours of the Court’s Order issued yesterday. (Dkt. 30.)

                                                10
        Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 15 of 17



         C.       The Ecuadorian Plaintiffs and Weinberg Group Would Seek, and Consent
                  to, an Accelerated Briefing Schedule

         This is not a circumstance in which appellate review would take years to resolve the

privilege claims at issue. The Ecuadorian Plaintiffs would promptly file, at first available

opportunity, a request for expedited consideration of all appellate relief sought and would file its

briefing as soon as practicable. Chevron could, at any time, move to lift the stay after the Court

has had opportunity to consider briefing on the merits. If Chevron’s claims are as meritorious as

the company claims, Chevron will have access to the documents it seeks well before the

November 14, 2011 trial date in the Southern District of New York.

                                                       ***

         The movants are convinced that the moment Chevron obtains the documents at issue, the

company will seek to use and file such documents in proceedings in Ecuador and in the

international arbitration between the Republic of Ecuador and Chevron pending in the Hague.

While the Court has stated that it has no evidence of such intended use before it, history bears

that out and Chevron has not in this proceeding disputed that it has the intention of doing so now.

         As a result, the privileged documents will be disseminated over three continents, causing

irreversible harm to the Ecuadorian Plaintiffs.4 If relief is ultimately granted, Chevron does not

dispute that there would be no further appellate remedy in the Ecuadorian proceedings as to the

improper use or reliance on privileged documents and that the Ecuadorian Plaintiffs do not have



         4
            The Ecuadorian Plaintiffs and Weinberg Group remind that the Court that although the Weinberg Group
indicated to Judge Kollar-Kotelly that the company was physically capable of producing documents in compliance
with its Court-imposed obligations within twenty-fours of such an Order issuing, (Dkt. 9, at 3), that indication
certainly did not contemplate that the Court would order every single document produced nor can such an indication
be construed as an agreement to forego the right to seek all available, good-faith remedies prior to the disclosure of
privileged documents. Of course, Judge Kollar-Kotelly “strongly encouraged” the parties to consider consenting to
referral to Your Honor (Weinberg Group and the Ecuadorian Plaintiffs did), which Judge Kollar-Kotelly observed
“may very well result in a more prompt resolution of the pending dispute and provide additional time for any
required production.” (Dkt. 10, at 3 (emphasis added).)

                                                         11
       Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 16 of 17



standing to object to their use in the international arbitration. Chevron will not be prejudiced by

any stay: the company has already obtained extensive discovery from the September 16, 2010

experts, including their documents and depositions. Finally, Chevron always has had at its

disposal the option of seeking a reasonable extension to the Southern District of New York’s fact

discovery deadline, given the fact that the trial does not begin until the second half of November.

In any event, should their appeals fail the Ecuadorian Plaintiffs and Weinberg Group hereby

consent to the production of Weinberg Group documents after the close of fact discovery given

the extraordinary circumstances and privilege issues and to allow for the opportunity to pursue

all available appellate remedies.

                                        CONCLUSION

       For all of the foregoing reasons, the Ecuadorian Plaintiffs and the Weinberg Group

respectfully request that this Court stay its Orders of September 8 and 13, 2011 pending appellate

review by the United States Court of Appeals for the District of Columbia Circuit. If this Court

is not inclined to stay its decision for the duration of the appeal, the Ecuadorian Plaintiffs and

Weinberg Group request a temporary, bridge stay to allow the parties the opportunity to brief the

merits of a stay pending appeal to the District of Columbia Circuit.




                                                12
Case 1:11-mc-00409-JMF Document 31-1 Filed 09/14/11 Page 17 of 17



                             Respectfully submitted,

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                               13
